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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA



HESHAM ISMAIL                                :         CIVIL ACTION
                                             :
                                             :
                  V.                         :
                                             :
                                             :
IHI POWER SERVICES CORP. ET AL               :         NO. 20-4801



                                AMENDED CIVIL JUDGMENT


         AND NOW, this 22nd day of November 2022, in accordance with the jury’s
November 15, 2022 answers to the interrogatories on the verdict sheet,
         IT IS ORDERED that Judgment is entered in favor of Plaintiff, Hesham Ismail, and
against Defendants, IHI Power Services Corp., Michael Petticord, and Kyle Adler, in
the amount of $40,000 in compensatory damages.
         IT IS FURTHER ORDERED by the Court that Plaintiff, Hesham Ismail, is
awarded the amount of $111,837.37 in back pay - for a total amount of $151,837.37.



                                                 BY THE COURT:
                                                 ATTEST: ______s/Joseph B. Walton_______
                                                                     Deputy Clerk




Civ 1 (4/21)
